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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00341-JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   MARCOS SOTO GONZALEZ,                               DATE: October 14, 2014
     aka, Antonio Suazo Landa,                           TIME: 9:30 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendant.
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18
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on October 14, 2014.
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            2.      By this stipulation, defendant now moves to continue the status conference one week
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     until October 21, 2014, and to exclude time between October 14, 2014, and October 21, 2014, under
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     Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery has been either produced
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            directly to counsel or made available for inspection and copying.

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                b)      The parties are in active plea negotiations. The government intends to present a

 2        formal written plea agreement to the defense within the next few days. Once received, counsel

 3        for defendant will need additional time to review the proposed plea agreement, review the

 4        discovery in light of the proposed agreement, discuss this and other potential resolutions with his

 5        client, and, if the offer is rejected, prepare for trial.

 6                c)      Counsel for defendant believes that failure to grant the above-requested

 7        continuance would deny him the reasonable time necessary for effective preparation, taking into

 8        account the exercise of due diligence.

 9                d)      The government does not object to the continuance.

10                e)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendant in a trial within the

12        original date prescribed by the Speedy Trial Act.

13                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14        et seq., within which trial must commence, the time period of October 14, 2014 to October 21,

15        2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16        T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17        of the Court’s finding that the ends of justice served by taking such action outweigh the best

18        interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME                 2
     PERIODS UNDER SPEEDY TRIAL ACT
           Case 2:13-cr-00341-JAM-KJN Document 35 Filed 10/14/14 Page 3 of 3


 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: October 10, 2014                                 BENJAMIN B. WAGNER
 6                                                           United States Attorney
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                                                             /s/ MICHAEL D. McCOY
 8                                                           MICHAEL D. McCOY
                                                             Assistant United States Attorney
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     Dated: July 10, 2014                                    /s/ ROBERT McCANN
11                                                           (by telephone authorization)
                                                             ROBERT McCANN
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                                                             Counsel for Defendant
13                                                           Marcos Soto Gonzalez

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                                           FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED this 11th day of October, 2014
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19                                                      /s/ John A. Mendez
                                                      THE HONORABLE JOHN A. MENDEZ
20                                                    UNITED STATES DISTRICT COURT JUDGE

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      STIPULATION REGARDING EXCLUDABLE TIME              3
      PERIODS UNDER SPEEDY TRIAL ACT
